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        Appendix A: Chart Summarizing Certain Labcorp Arguments Regarding Breach of Confidence (Count III)

       Labcorp’s Memorandum of Law in support of its Motion to Dismiss fully sets forth Labcorp’s arguments for dismissal of
Plaintiffs’ breach of confidence claim. For the court’s convenience, the chart below organizes those arguments and relevant
citations. Plaintiffs’ claim also fails for additional reasons not captured below.

                                                                                                      Breach of Confidence or
                      No Breach of Confidence Cause of          Only Recognizes Breach of
          State                                                                                     Confidentiality Requires An
                                   Action                    Confidence in Trade Secret Matters
                                                                                                          Affirmative Act
    Arkansas         Labcorp is not aware of an Arkansas     N/A                                  N/A
                     case recognizing an independent cause
    Plaintiff:       of action for breach of confidence.
    Palmer

    California       N/A                                     N/A                                  Yes. In re Ambry Genetics Data Breach
                                                                                                  Litig., 2021 WL 4891610, at *8 (C.D.
    Plaintiffs:                                                                                   Cal. Oct. 18, 2021)
    Lassiter
    Nazemnikov

    Florida          N/A                                     N/A                                  Yes. Desue v. 20/20 Eye Care Network,
                                                                                                  Inc., 2022 WL 796367, at *9 (S.D. Fla.
    Plaintiffs:                                                                                   Mar. 15, 2022).
    Buhr
    Laufenberg

    Georgia          N/A                                     N/A                                  Yes. Purvis v. Aveanna Healthcare, LLC,
                                                                                                  2021 WL 5230753, at *12 (N.D. Ga.
    Plaintiffs:                                                                                   Sept. 27, 2021).
    Haley
    Nelson-Carter
    Scott



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                                                                                                         Breach of Confidence or
                  No Breach of Confidence Cause of           Only Recognizes Breach of
      State                                                                                            Confidentiality Requires An
                               Action                     Confidence in Trade Secret Matters
                                                                                                             Affirmative Act
Kansas           N/A                                      Yes. Lockridge v. Tweco Prod., Inc., 209   N/A
                                                          Kan. 389, 396, 497 P.2d 131, 136
Plaintiff:                                                (1972).
Finch

Kentucky         Labcorp is not aware of a Kentucky       N/A                                        N/A
                 case recognizing an independent cause
Plaintiff:       of action for breach of confidence.
Rothwell
Maryland         Yes. Ross v. Cecil Cnty. Dep’t of Soc.   N/A                                        N/A
                 Servs., 878 F. Supp. 2d 606, 622 (D.
Plaintiffs:      Md. 2012)
Kaplan
Massachusetts    N/A                                      N/A                                        Yes. Willitts v. Engie N. Am. Inc., 2021
                                                                                                     WL 2322833, at *4 (D. Mass. Jun. 7,
Plaintiff:                                                                                           2021)
Shulman
Mississippi      N/A                                      N/A                                        Yes. Riley v. F.A. Richard & Assocs.,
                                                                                                     Inc., 16 So. 3d 708, 720 (Miss. Ct. App.
Plaintiffs:                                                                                          2009).
Spencer
Thomas
New Jersey       N/A                                      N/A                                        Yes. Vorhees v. Tolia, 2020 WL
                                                                                                     1272193, at *10 (D.N.J. Mar. 17,
Plaintiff:                                                                                           2020), appeal dismissed sub nom., 2020
Lebon                                                                                                WL 5901556 (3d Cir. July 23, 2020).




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                                                                                                            Breach of Confidence or
                   No Breach of Confidence Cause of           Only Recognizes Breach of
      State                                                                                                Confidentiality Requires An
                                Action                     Confidence in Trade Secret Matters
                                                                                                                 Affirmative Act
New York          N/A                                      N/A                                       Yes. Chanko v. Am. Broad. Companies
                                                                                                     Inc., 27 N.Y.3d 46, 53, 49 N.E.3d
Plaintiffs:                                                                                          1171, 1176 (2016).
Gadero
Wallach
North Carolina    Yes. Larrowe v. Bank of the Carolinas,   N/A                                       N/A
                  2011 WL 3793411, at *16 (M.D.N.C.
Plaintiffs:       Aug. 25, 2011)
Vaszquez
Wrenn
Ohio              N/A                                      N/A                                       Yes. Foster v. Health Recovery Servs., Inc.,
                                                                                                     493 F. Supp. 3d 622, 636 (S.D. Ohio
Plaintiffs:                                                                                          2020)
Harris
Thrower
Pennsylvania      N/A                                      N/A                                       Yes. Wildman v. Homa, 32 Pa. D. &
                                                                                                     C.4th 468, 476 (Com. Pl. 1996), aff’d,
Plaintiff:                                                                                           698 A.2d 679 (Pa. Super. Ct. 1997).
Judelsohn

Texas             N/A                                      Yes. Kinnear-Weed Corp. v. Humble Oil     N/A
                                                           & Ref. Co., 150 F. Supp. 143, 159
Plaintiff:                                                 (E.D. Tex. 1956), aff’d, 259 F.2d 398
Cuvillier                                                  (5th Cir. 1958), supplemented, 296 F.2d
                                                           215 (5th Cir. 1961)

Wisconsin         N/A                                      N/A                                       Yes. Smith v. Dep't of Corr. of State of
                                                                                                     WI, 2005 WL 2449841, at *25 (E.D.
Plaintiff:                                                                                           Wis. Sept. 30, 2005)
Allende



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